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February 17, 2022

Dear Honorable Chief Judge Laurie Selber Silverstein,

In life some of us would love to be known for
Greatness. Unfortunately, that’s not my story. | wasn’t
dealt that hand. Honorable Chief Judge, for me not to

keep reliving my nightmare - you have my file and know
my ‘ory troop #361.

| attended the town hall meeting on February 15, 2022
@8p, and | must say God is answering my prayers. It was
good to hear the plans the committees are formulating for
current and future Boy Scouts to keep them from being
brutally abused having their lives destroyed like mine.
Thank God for that. Voting “Yes’ makes sense for me now!

| also was glad to hear that we the abused survivors will
have our names engraved on a BSA roster. All these
years I’ve been ashamed and embarrassed, but to know
lve made a difference for the safety of future innocent
boys and girls. | feel like my ‘walking dead life’ hasn’t been
in vain.

’'m glad | listened to God and obeyed him by finally telling
my terrible truth to my caregiver Ms. Denise Green. My
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concern now Honorable Chief Judge is that my health is
failing. | am still today in excruciating pain in my body.
Lately my heart is seemingly getting weaker and weaker. |
worry daily. | pray to see justice in my lifetime for this less
than human treatment | endured from Boy Scout leaders
for the three years of 12 - 15 years of age; which has
impacted my health still to this day.

The news from these updates and townhall meetings are
just making my heart ache more with the prolonging and
procrastination. Pushing justice AND compensation further
and further out, which is already long overdue. My cry for
mercy is because my health is failing now!

In July of 2021 Attorney Andrew Arsdale told myself and
on a conference call that justice and
compensation would be awarded this year, no later than
April 2022, which now obviously does not appear to be the
case. | know that there will be future compensation that
has yet to be awarded; in addition to the original 2.7B
awarded. We have been informed the attorney’s are
bringing in additional judges, and attorney’s to assist with
the distribution process, who is paying for all this?? | want
EVERY DIME DUE TO ME! The system continues to
delay MY due process. For the record, because of these
continuous delays, | do have my affairs in order. My power
of attorney and caregiver, a the
executor of my estate and will receive my earnings, but I’m
praying that f will live long enough to reap the
compensation due to me. Between the paper pushing, the
attorneys, and all the delays | continue to have to wait for

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what is MINE and it’s like the system doesn’t care either. It
just is not right. | have had to survive the abuse, and now |
must survive the abuse of the system too??

Again Honorable Chief Judge, my cry is for mercy and a
speedy resolution because my health is failing now!

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